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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )    Chapter 7
    In re:                                                    )
                                                              )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                       )
                                                              )    Jointly Administered
                                                              )
                                                              )
                                     Debtors                  )    Re: D.I. ___
                                                              )

                              ORDER GRANTING
  MOTION TO SHORTEN NOTICE AND SCHEDULE EXPEDITED HEARING ON
    MOTION OF GEORGE L. MILLER, CHAPTER 7 TRUSTEE, PURSUANT TO
SECTIONS 105, 363, AND 365 OF THE BANKRUPTCY CODE, BANKRUPTCY RULES
   2002, 6004, AND 6006, AND LOCAL RULE 6004-1, FOR ENTRY OF AN ORDER
 AUTHORIZING SALE AND ASSUMPTION AND ASSIGNMENT OF SOMERVILLE,
    MA LEASE (STORE #7028) TO RAYMOURS FURNITURE COMPANY, INC.

                   Upon consideration of the motion (the “Motion to Shorten”)2 for an order pursuant

to Del. Bankr. L.R. 9006-1(e) scheduling an expedited hearing and shortening notice with respect

to the Motion of George L. Miller, Chapter 7 Trustee, Pursuant to Sections 105, 363, and 365 of

the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-1, for Entry

of an Order Authorizing Sale and Assumption and Assignment of Somerville, MA Lease (Store

#7028) to Raymours Furniture Company, Inc., filed by George L. Miller, chapter 7 trustee (the

“Trustee”) for the estates of the above-captioned debtors (collectively, the “Debtors”); and the

Court having considered the Motion to Shorten; and the Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the



1
      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).
2
      Capitalized terms not defined herein shall have the meaning attributed to them in the Motion to Shorten or the
      KERP Motion, as applicable.



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United States District Court for the District of Delaware, dated February 29, 2012, and that this

Court may enter a final order consistent with Article III of the United States Constitution; and

venue being proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the

Motion to Shorten being adequate and sufficient; and after due deliberation and sufficient cause

appearing therefor, IT IS HEREBY ORDERED THAT:

                 1.          The Motion to Shorten is GRANTED.

                 2.          A hearing to consider the Sale Motion shall be held on August 31, 2023 at

11:00 a.m. (prevailing Eastern Time) (the “Hearing”).

                 3.          Objections or responses to the Sale Motion, if any, may be presented at the

Hearing.

                 4.          The Trustee shall immediately serve a copy of this Order and a notice for

the Hearing on the Sale Motion in the manner described in the Motion to Shorten

                 5.          This Court shall retain jurisdiction to enforce and interpret the provisions of

this Order.




            Dated: August 25th, 2023                    THOMAS M. HORAN
            Wilmington, Delaware                        UNITED STATES BANKRUPTCY JUDGE



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